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  Keith Mathews
  AWP Legal
  1000 Elm Street, Suite 800
  Manchester, NH 03102
  603-622-8100
  keith@aaone.law


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

   THE CORING COMPANY                                      Case No. 21-cv-
   on behalf of itself and all others similarly situated
                                                           SHERMAN ANTITRUST
                           Plaintiffs,                     CLASS ACTION

   vs.
                                                           COMPLAINT FOR DAMAGES
   APPLE INC.                                              AND INJUNCTIVE RELIEF
       &
   MR. TIM COOK
                           Defendants.

                                                           DEMAND FOR JURY TRIAL


         PLAINTIFFS’ COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

                                         I.      INTRODUCTION

     1. In December 2021, The Coring Company (“Coring”) developed an innovative app

         distribution platform meant to replace Apple’s App Store with its malware and censorship-

         resistant “App Place.” Using open source, blockchain, and professional audit capabilities,

         the App Place by Coring could nearly eliminate the rogue algorithms and unfair “curation”

         of competitors that plagues the App Store, and which famously lead to an entire political

         party being squelched when Apple shut down Parler during the presidential transition

         period.




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     2. Problematic algorithms, or app source code, fall under two basic categories. First are

          objectively harmful malware, spyware, illicit content redirects, and privacy invading

          phishing type attempts. The second, more complex category, are unethical algorithms,

          often veiled as “trade secrets” by companies like Instagram and Facebook, and criticized

          for encouraging addicting online behaviors, spreading false information, facilitating

          unnecessary spending and ad clicking, increasing community discord, and other subjective

          woes.

     3.   Apple purports their own App Store’s competitive advantage is in screening for the first

          type of bad algorithms. Apple has advanced this argument in numerous anti-trust cases,

          and largely won the highly publicized Epic trial on the basis that such “safety” defenses

          were non-pretextual. Apple concedes that some apps in the first category slip through their

          app review process. As for the second category, Apple’s app review process does not

          screen source code, and therefore has very limited ability to screen for unethical, secret,

          and surreptitious subjectively ‘corrupt’ algorithms.

     4. Enter the “App Place” by Coring, which virtually eliminates the aforementioned

          drawbacks, and hence offers the “best app store ever made for iOS.” In the App Place,

          developers submit their source code itself to the platform. They then have the choice to

          either have the code professionally audited by certified computer code examiners, like a

          patent examiner examines a patent application, or to distribute the app in compiled open

          source format, like Github has done for years for programmers. For many apps, distributing

          in open source is preferable as it gains trust amongst users, and in some cases, is the only

          way to prove secure “end-to-end” encryption and other data safety chain-of-custody proofs.

          This would enable an entire class of apps that is currently not possible on iOS, for example,




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         a certified smart contract front-end. Other apps may keep their source code more closely

         guarded, and instead pay certified auditors to review the code, and transcribe in simple

         English the functionality of the algorithms. In either scenario, malware and surreptitious,

         unethical algorithms will never be passed on to an end-user in the App Place; the open

         source code will plainly reveal itself in user reviews, and/or the auditor will discover that

         the algorithm doesn’t function as specified in the developer app submission. Community

         monitoring of open-source forks would attribute them to original creators, and the App

         Place would direct ad revenues and in-app purchases accordingly. Hence, even in the open-

         source method, work product is protected.

     5. Censorship is similarly a non-issue in the App Place. Too often, we hear of Apple

         “curating” apps and blocking them under the false pretense of safety. Once code is audited,

         or open-source, the subjective curation review by Apple becomes unnecessary. Standards

         for rejection will be based on objective criteria, rather than Apple’s murky – and often

         illegal under Sherman and RICO – perfunctory decisions. A dishonest app will be

         disclosing its wrongdoing immediately in the source code, and subject it to immediate law

         enforcement scrutiny.

     6. In the jury trial, experts will leave little doubt that the App Store is an outdated distribution

         platform that pales in comparison to the potential of App Place, and other similar

         incumbents. Apple’s antitrust safety defense is fatally flawed when one considers newer

         app distribution technologies such as Coring’s App Place. Who would want to go back to

         the App Store, after they appreciated the transparency of the App Place?

     7. The market for innovating app stores is seemingly without limit. In China, competitor app

         stores for the Android platform are nearly an order of magnitude larger than the original.




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        Apple’s own App Store draws in nearly $20 billion a year in commissions, making it the

        largest consumer transaction platform in history. Epic raised the issue of innovative app

        stores actually improving app safety, but Apple’s home-field Northern California district

        found that Epic failed to prove this matter in the relevant international games market. Here,

        Coring’s App Place specifically applies to non-gaming, United States apps, hence the

        matter is one of first impression. Moreover, the App Place has a specific technology ready

        for examination by the jury, whereas Epic only vaguely posited that one could improve the

        safety of the App Store.

     8. The damage to our economy from bottlenecking app distribution is vast. Assuming

        competing app stores like App Place could represent 5x the size of the App Store, as they

        do in China, there is a market for $100 billion annually in App Store transactions. What’s

        more, the App Place will reduce commissions from Apple’s 30%, to a non-usury 6% level.

        As adjusted, transaction damages alone would accrue $20 billion annually to app store

        competitors. That does not include the damages to censored app developers, which is

        estimated to be at least $30 billion annually. Anticipating two years to trial, this class action

        seeks to redress nearly $300 billion in damages on a treble-award basis.

     9. Interestingly, just last week “The Information” journal revealed that Apple’s Tim Cook

        bribed the Chinese government with $275 billion to exempt it from regulation in that

        country, including, upon information and belief, antitrust enforcement. This offers proof

        that Apple knows the precise value of bottlenecks to competition caused by the App Store’s

        archaic, and monopolistic, platform, and agrees with Plaintiffs on the approximate damage

        to competition. Notably, in Georgia, located in the same circuit as this Court, Apple is

        alleged to have entered a quid pro quo with state legislators to drop antitrust enforcement




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        or face HBCU funding rescindment. In short, Apple pays big money to ensure that the App

        Store isn’t regulated, and competitors like App Place aren’t given a chance to flourish.

     10. The Coring Company was founded this month, and has no prior relationship with Apple,

        Inc. as a developer or end-user. As a holder of a patent that also issued just this month,

        awarded to a Florida inventor, Coring asserts antitrust and patent infringement claims as a

        Florida entity. It is hoped that Coring can bring this nationally important debate concerning

        app market competition to the Eleventh Circuit, where case law is properly aligned with

        the Sherman Act’s original intent.

     11. The Sherman Act prohibits monopolization of any part of the trade or commerce among

        several States, or with foreign nations. Likewise, the Sherman Act prohibits every contract

        or conspiracy in restraint of trade among several States, or with foreign nations. Apple has

        restricted trade, communication, and free information exchange, all in violation of the

        Sherman Act, when it excluded competing app distributers, such as Plaintiff, from the iOS

        ecosystem.

                                                VENUE

     12. Venue in the Southern Florida District is proper under 15 U.S.C. § 22, which states that

        any suit proceeding under antitrust laws against a corporation may be brought in any

        district where it transacts business. Apple transacts business in Florida.

     13. This Court has subject matter jurisdiction, pursuant to the Class Action Fairness Act of

        2005, 28 U.S.C. 1332 (d), because the proposed class of Apple shareholders, US citizens,

        and/or App distributors exceeds 100 members, the amount in controversy exceeds

        $5,000,000, and at least one member of the class of plaintiffs is a citizen of a state different

        from Defendant Apple, a California corporation. Jurisdiction in this Court for a permanent




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        injunction arises under 28 U.S.C. § 1331, for federal questions presented pursuant to 15

        U.S.C. § 26 (Clayton Antitrust Act). Diversity jurisdiction is invoked pursuant to 28 U.S.C.

        § 1332 because the parties reside in different districts and the amount in controversy

        exceeds $75,000.

                                           II.    PARTIES

     14. Plaintiff The Coring Company (“Coring”) is a Florida C Corporation. Coring was founded

        in early December 2021 by a group of former Apple enthusiasts who hope to use

        technological innovation and advocacy to bring back the core values of this undisputed

        American success story. Coring intends to raise public awareness about the negative

        externalities created by Apple’s conduct. As an intellectual property holding company,

        Coring’s portfolio includes the App Place smartphone app distributer, and the web caller-

        ID patent, United States Reissue Patent #48,847. Coring’s founders and advisors possess a

        diverse background of accomplishments in the sciences, medicine, law, and computing

        fields. Coring will actively recruit additional coalition members to join in support of this

        class action. As a founding project, Coring prototyped a Censorship-Free App Distribution

        Platform meant to immediately redress the growing threat of app censorship that now

        plagues developers, end users, and even entire political parties.

     15. Defendant Apple Inc. is a California corporation with its principal place of business in

        Cupertino. Apple is the largest public company in the world, with a current market

        capitalization of approximately $3 trillion. Apple designs, markets, and sells smartphones

        (the iPhone) and computers (the Mac), which functionally rely upon and profit immensely

        from access to the taxpayer-funded national internet backbone. Apple owns and operates

        the App Store, which serves as the only retail store for iOS applications (apps) that execute




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        commerce and information flow over the national internet. No other app distributers, such

        as Plaintiff’s App Store, are permitted under Apple’s exclusionary iOS design. Because the

        App Store rejects some 40,000 apps per week, it causes millions of person-years of

        economic losses, and a vastly sub-optimal “network effect” of the Internet.

     16. Defendant Mr. Tim Cook is CEO of Apple, Inc. Mr. Cook’s place of employment is at

        Apple headquarters in Cupertino, CA. Upon information and belief, he is a California

        resident. On December 7, 2021, “The Information” journal broke the story that Mr. Cook

        entered into a secret agreement with the Chinese government in 2016. The agreement, also

        referred to as a bribe, diverted some $275 billion in Apple shareholder profits to China,

        without disclosing the fact to Apple’s Board or shareholders. The agreement obtained no

        specific consideration for Apple – i.e., China did not promise anything in return. As such,

        the agreement constituted a one-sided bribe, made without consent of the corporation, and

        with the intent to defraud and dilute shareholders from nearly three years of corporate

        earnings. Mr. Cook, upon information and belief, also directed lobbyists in Georgia to

        engage in illegal quid pro quo HBCU funding threats. As such, Mr. Cook may be subject

        to pending RICO and Sherman statutory claims.

                                   III.    FACTUAL HISTORY

     17. Introductory paragraphs preceding this paragraph are asserted herein and responsive

        pleading is hereby noticed as necessary.

     18. Apple operates the App Store, and has exclusive control over iOS applications and their

        ability to access the national internet backbone. The national TCP/IP internet backbone

        was built, at least in part, using taxpayer dollars for the military ARPANET. Apple has

        profited immensely from the existence of the national internet backbone. Without the




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        internet, and the taxpayer dollars that built it, Apple would not enjoy the $3 trillion

        valuation it has amassed. The Apple smartphone ecosystem is primarily a graphical user

        interface (GUI) software (iOS) and hardware amalgamation connecting users to the

        national internet backbone.

     19. Over the years, Apple has taken a concerning, increasingly authoritarian approach to the

        App Store and access to the iOS userbase (the owners of the “network effect” of hundreds

        of millions of interconnected smartphones) and has rejected and/or disallowed significant

        numbers of third-party applications, including all rival app distributers such as App Place.

     20. There has been a recent international consensus that Apple engages in anticompetitive

        conduct to monopolize the US App Distribution marketplace. This is part of an emerging

        trend of global public interest in regulating “Big Tech.” The world rapidly adopted

        smartphone internet connectivity over the past decade. This has lead to vast sociological

        implications which we are in the very early stages of fully understanding. There are at least

        several emerging antitrust proceedings of particular relevance to this case, that combined

        form an international consensus that the App Store harms competition and innovation.

        These include:

        - The bipartisan Senate “Open App Markets Act” introduced last summer by Senior Senator

        Blumenthal. The Act’s Section 3(d) on “interoperability” requires the App Store allow

        direct app loading and eliminate search ranking self-preference. As such, the Act attempts,

        through legislation, to obtain the same App Store changes as the preliminary & permanent

        injunctions requested in this Amended Complaint.

        - The “Investigation of Competition in Digital Markets” majority staff report and

        recommendation by the United States House of Representatives Subcommittee on




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        Antitrust, herein referred to as the “House report.” The facts uncovered by the House report

        applicable to Apple are hereby wholly incorporated herein. The report concludes that courts

        have had disregard for the legislative intent of Sherman, and too narrowly construe it in

        cases involving Big Tech.

        - A European Commission investigation into the App Store, launched in June 2020. (“The

        EC investigation”). Proposed legislation exists in the EU and the UK which would mandate

        App Store modifications identical to this complaint and the bipartisan US senate bill.

     21. The “Investigation of Competition in Digital Markets” majority staff report and

        recommendation by the United States House of Representatives Subcommittee on Antitrust

        provides compelling support and evidence supporting the Plaintiffs and class members

        claims. The report asserts that Apple’s control over iOS provides it with gatekeeper power

        over software distribution on iOS devices. The report declares Apple has “monopoly power

        over distribution of software applications on iOS devices.” The report quotes Apple

        executives as stating that Apple is “not subject to any meaningful competitive constraint”

        in this channel. This results in “supra-normal” profits according to the report.

     22. Apple benefits immensely from a ranking system that favors their own rival apps,

        according to the report. Some searches reveal “14 Apple apps before showing results from

        rivals.” The report documents that Apple “holds [competitor apps] to a different standard”

        than its own apps, which is precisely what happened to Plaintiff’s patent licensees, and

        other class members. Such ranking unfairness has directly harmed Plaintiffs and class

        members.

     23. Described is Apple’s history of “closely monitoring the success of apps in the App Store,

        only to copy the most successful.” Apple “takes other companies innovative features,”




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        which was the case with the ‘847 patent. In sum, Plaintiffs and class members have

        experienced such anti-competitive behavior as described in the report.

     24. The House report has an entire section devoted to Apple’s “excluding rival apps.” This

        directly applies to Apple’s outright ban of all app distribution software, such as App Place.

        Many class members have suffered the same fate, resulting in thousands of person-years

        and tens of billions of dollars of damages.

     25. The report describes how apple has “absolute discretion” in approving apps, resulting in

        “complete tyranny.” As stated in the introduction, the app review process is anything but

        perfect; the House Report says “different reviewers” interpret same apps “differently” with

        “intentionally…vague” guidelines that consist of “moving goal posts” and “unwritten

        rules.” The report describes the frequent delays of weeks or months as “insufferable.”

     26. The Subcommittee findings re Apple’s anti-competitive behavior, approximately ten pages

        in length, are hereby asserted by Plaintiffs and class members as if fully pleaded herein.

     27. Plaintiff’s App Place is a competitor with Apple’s App Store.

                               Coring Lead Plaintiff – App Place Facts

     28. It is a well-established fact that Apple does not like competition with the App Store, and

        perhaps more importantly, desires absolute power over what applications every iPhone user

        – about two-thirds of the US population, does with their smartphone.

     29. While this may have been acceptable to many in the early days of the iPhone, it is now a

        technological crisis. Justice Clarence Thomas has been unambiguous in stating that the

        time has come for companies like Apple to be viewed as essential facilities that are in

        violation of Sherman Act: https://www.cnbc.com/2021/04/05/justice-thomas-suggests-

        regulating-tech-platforms-like-utilities.html




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     30. But a landmark Epic case in the Ninth Circuit lost their attempt to bring a rival app store

        to the markets. In that case, the Judge found a marketplace neither the Plaintiff not Apple

        had pleaded – the international games market, and denied Sherman claims but upheld a

        state Unfair Competition Law. Just last week, the Ninth Circuit put a stay on that small

        victory for web freedom.

     31. As stated in the introduction, the case was largely won by Apple arguing the App Store is

        the best – and only – way to safely distribute apps.

     32. But this is false. The App Store is an archaic model, and even if it isn’t, would benefit from

        competition.

     33. But competition is barred by Apple. Consider the TrustWallet Dapp App Market. Apple

        removed the Smart Contract Dapp market, much to the despair of that developer:

        https://support.trustwallet.com/en/support/solutions/articles/67000670234-dapp-browser-

        removal-on-ios-version-of-trust-wallet

     34. That developer probably had little choice, having signed the DPLA, and unwilling to risk

        their remaining business. As a result, they apparently capitulated to Apple’s DPLA. Indeed,

        challenging the DPLA in court cost Epic around $60 million.

     35. A Dapp Market would have allowed the important smart contract realm to flourish with

        iOS users. That technology has great potential to improve the stability and safety of the

        internet. In short, Apple blocked the Dapp Market because it wanted power over Dapps –

        even if that cost society as a whole, in terms of safety.

     36. Apple, undoubtedly, understands the power of competing App Stores. Indeed, their own

        Apple Arcade is the only competing App Store permitted on the platform. In short, Apple




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        is a hypocrite: they block innovative app stores like TrustWallet, to advance their own

        agenda, i.e. Apple Arcade.

     37. There exist many possible improvements to the App Store in terms of user safety and

        experience.

     38. The TrustWallet, Epic, and Plaintiff’s own App Place are examples of such potential

        improvements.

     39. Apple is a competitor with each of these platforms, as both a developer and app distribution

        operator.

     40. App Place’s specification for a consumer open source and audited/examined algorithm

        submission platform would bring substantial, tangible increases in safety, app quality, and

        app selection, if Apple permitted it. Plaintiff anticipates patent pending status on the App

        Place specification no later than the date of the preliminary injunction hearing.

     41. Instead, it is clear from TrustWallet and Epic’s experience that the App Place would not

        even be considered by Apple.

     42. Some products, like Microsoft Office, trusted for four decades, would likely not be the

        ideal candidate for an open source market like App Place. More likely, small , but critical,

        utilities like Dapps and other services, like Coronavirus Reporter, an epidemiological

        research tool, would thrive on the App Place. Consumers and developers both suffer from

        the loss of the App Place option. Indeed, even Microsoft has recently lifted all restrictions

        to competing app stores on its own platforms, calling the practice “unfair.” Google has,

        since Android’s inception, always allowed any developer to act as a distributor. So has the

        MacOS, and every other major computing platform in history. In short, Apple stands

        stubbornly alone against its peers, as well as the US Congress, Senate, and even members




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        of the Supreme Court. But somehow, they have been able to influence state legislators,

        China, and the Ninth Circuit. That practice must be subject to discovery in this lawsuit and

        brought to an end.

                                Coring Lead Plaintiff – ‘847 Patent Facts

     43. On October 14, 2014, the United States Patent and Trademark Office (“USPTO”) duly and

        legally issued U.S. Patent No. 8,861,698 (“’698 Patent”), entitled “Post-Page Caller Name

        Identification System.” That patent overcame substantial litigation in the Federal Circuit

        and years of scrutiny by the USPTO, to resolve a common obstacle for software patents –

        Alice non-abstraction. The patent reissued on December 7, 2021 as Reissue Patent #48,847.

     44. Coring obtained ownership of the US Reissue Patent #48,847 in December 2021. Coring’s

        technology allows a mobile phone user to identify the name associated with a particular

        phone number through a reverse lookup. But unlike reverse phone lookup internet

        technology available prior to the invention, Coring’s technology connects an internet

        search to phone carrier databases on the Public Switched Telephone Network (PSTN), to

        identify caller name information.

     45. The ‘847 Reissue Patent is currently in full force and effect and is entitled to a presumption

        of validity under the law.

     46. Coring and the inventor own all rights, title, and interest in the ’847 Patent, including the

        right to sue for past, present, and future infringement of that patent.

     47. The ‘847 Patent describes and claims a novel convergence of two telephone network

        related technologies, namely SS7 Caller Name ID (“CNAM”), and internet based reverse

        telephone number search.




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     48. Originally, the Baby Bells disbursed paper phone books to each landline customer, which

        served as the primary mode of looking up a phone number by the customer’s name. In the

        1980s, telephone companies began offering “caller ID” as an add-on feature for a landline

        telephone subscription. Caller ID was supported by CNAM, which at that time was

        reaching widespread use by the carries. CNAM allowed a carrier to determine the name

        of the calling party and display that to the called party for calls between landline phones.

        Prior to that time, a called party generally had no way to trace the name of a caller; calls

        were anonymous. CNAMs were stored in a relatively small number of databases managed

        by the “Baby Bell” companies.

     49. Upon information and belief, in 1997, the largest competing reverse phone services copied

        the Baby Bell phonebooks onto their internet searchable database. This had the effect of

        allowing reverse telephone number lookups via the internet by entering a phone number to

        search for its owner, without adding a “Caller ID” feature to a telephone subscription. The

        limitation of this method, of course, was that it only included listed numbers for landlines

        contained in public telephone books, and did not include cell phone numbers. It also relied

        on data from a single snapshot of time, and could not account for new telephone numbers

        or changed numbers as those additions or changes occurred.             The reverse search

        competitors charged for the service. Over time, they added other data sources to its

        database of information, to expand its reverse phone lookup service, but what it lacked was

        access to a large swath of cell phone numbers and associated names.

     50. Although mobile phones, and particularly smart phone technology, has proliferated in the

        last two decades, cell phone Caller ID technology did not, presumably because CNAM was

        based on the Public Switched Telephone Network (PSTN). As a result, many mobile




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        phones today will display “UNKNOWN CALLER”, or a city name e.g., “W PALM

        BEACH” instead of the name of the person who owns the account for the calling number.

        In short, despite great advances in the past decade or so related to mobile phone technology,

        Caller Name ID was often left behind.

     51. The lack of CNAM information on mobile phones created a less than ideal situation for the

        average consumer. Mobile phone owners often do not know who is calling them, and as

        noted, reverse search technology of copying phone books onto the internet suffered from

        the drawback of lacking mobile phone numbers.

     52. This left reverse phone search users with little recourse for mobile telephone numbers.

        They responded by introducing expensive “upcharge” subscriptions to access credit report

        files, which include most phone numbers. The customer of such service typically agrees

        (whether they mean to or not) to a recurring monthly subscription of approximately

        $19/month.

     53. In 2013, the patent’s inventor conceived of and invented a free technology that bridged the

        gap between CNAM and internet reverse search. He filed for and obtained a patent on his

        invention which is known as the Post Page Caller Name Identification System. It is

        described and claimed in the ‘847 Patent. In particular, the ’847 Patent describes a system

        and method in which a user can input a telephone number into a webpage or mobile phone

        app, separate and apart from its phone carrier, and return name information associated with

        the queried phone number. To accomplish this in practice, the patent licensee uses an SS7

        query to a CNAM database in real time to obtain the caller name information.

     54. In addition to obtaining patent protection the inventor set about to create the computer code

        required to make his invention work. He worked with third parties to gain access to CNAM,




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        and with Apple, Google, and other App providers to ensure that his App was not only

        successful, but was implemented to protect the privacy of users and enhance their

        experience.

     55. The inventor released his “Caller-ID” app onto the Apple iTunes App Store in the summer

        of 2013. The app has over ten thousand positive user reviews; representative reviews

        include “finally, a phone search that didn’t ask for my credit card number,” “far superior

        to Apple,” “the only one that works,” “why wasn’t this invented ten years ago” and so

        forth. The app was free, instead generating revenue through advertising rather than direct

        user payments. As a result, hundreds of millions of users avoided $19 subscriptions and

        obtained free caller name ID. The invention created by a Florida resident and specified

        in the ‘847 patent resulted in approximately $100 million in savings to the national

        economy. It was years ahead of its time in seeking to reduce unwanted subscriptions,

        which now plague nearly every industry.

     56. In the summer of 2014, just a year after the inventor introduced his app, and as he began

        to take away Apple’s App Store profits from reverse phone lookups, Apple allowed

        multiple competing apps on the App Store to infringe the patent.

     57. In accordance with Apple’s App Store terms and conditions, the inventor engaged in the

        Apple dispute resolution process. In August 2014, he sent an infringement notice to Apple

        Legal, pursuant to that process, notifying Apple that it believed Apple infringed the ’698

        Patent.

     58. According to the Apple App Store process, the next step was for Apple to request evidence

        from infringing app developers to prove they did not infringe the ’698 patent. Upon

        information and belief, Apple failed to enforce their contractual agreements to investigate




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        the infringement, and instead, de-ranked the inventor’s app – the only licensee of the ‘847

        patent to this date.

     59. Numerous apps on the App Store now infringe the patent. In particular, these apps are a

        mobile phone application and system that functions independently of the called party’s

        carrier and device. A user inputs a phone number into an entry field, which could come

        from any device, to determine who called from that number. When a result is found in a

        carrier’s CNAM database, the infringing apps return a result of up to 15 characters,

        identifying the name associated with the queried number. Upon information and belief,

        the 15 character truncation indicates a carrier’s CNAM database accessed by SS7,

        including an SS7 interfacing node. In other cases, a longer result is obtained using LIDB,

        which is still an infringing behavior.

     60. Upon information and belief, Apple directly infringes the ‘847 patent by selling infringing

        apps directly to consumers, having purchased them as a monopsonist. Upon information

        and belief, Apple’s system includes a third-party CNAM query to return the calling party

        name requested by the user, which is implemented, used, and operated at and under Apple

        direction and control.

     61. Upon information and belief, Apple also induces its users to infringe at least Claims 7 & 8

        of the ’847 patent. In particular, Apple provides the complete system for reverse phone

        lookup via an SS7 CNAM query to users, as described above, who place that system into

        use when they enter a phone number to query.

     62. Apple has alternatively, infringed contributorily by providing to users a system for reverse

        phone lookups, described above, that has no non-infringing uses. A proper calculation of

        damages requires the jury to assess whether or not Apple is a monopolist and/or




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        monopsonist in the Smartphone App Markets, and thereafter, to apportion the infringing

        apps accordingly to their rightful owners (Apple vs. the original developer).

                               Sherman Antitrust Claim Theory

                             A Relevant Market Exists for US Smartphones

     63. There is a relevant market for United States smartphone internet access devices (“US

        Smartphone Market”) which encompasses the ubiquitous handheld, portable electronic

        devices that allow users to perform myriad communications and computing functions, such

        as browsing the internet, navigating traffic, paying bills, accessing social media, playing

        games, and streaming videos and music. For many consumers, smartphones have largely

        replaced laptop and desktop computers for a wide variety of computing tasks. To be useful,

        a smartphone requires an FCC licensed telephone modem (i.e 5G radio) and an operating

        system which facilitates the use of apps through code, such as application programming

        interfaces (“APIs”), which app developers use to create apps that are compatible with the

        device. Smartphones in the US are made by companies like Apple, Samsung, LG, and

        Motorola. Apple’s products are unique in that they don’t have a licensable operating

        system, rather, they use the proprietary iOS. Smartphones are designed to work on specific

        frequencies, which vary by country, and hence require regulatory (i.e. FCC) approval.

     64. Hence, licensed US smartphones operate using carrier frequencies that have been

        commissioned in this country. Apple iPhones sold in the US have different product SKUs

        than those sold in China, or Europe, evidencing the different markets for different country-

        products. The US smartphone market excludes simple cell phones, “flip phones,” or feature

        phones, or other electronic devices (such as laptop computers, desktop computers, and

        gaming consoles, e.g., Nintendo DS, Xbox, PlayStation) that are not mobile smartphones.




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        As such, Apple and several Android OEMs (LG, Samsung, Motorola) comprise the bulk

        of the substitutable products in this market. Tablets are considered distinct from this

        smartphone market, and discovery will further elucidate potential damages in the tablet

        market.

     65. Smartphones are essential tools in contemporary American life. They are indispensable to

        consumers for personal communication, as well as for access to and participation in the

        modern economy. What makes a mobile device “smart” are the myriad apps that can run

        on the device and are compatible with its mobile operating system. U.S. consumers now

        spend more time using mobile devices than they do desktop computers, laptop computers,

        or televisions. Mobile internet usage is rising while desktop internet usage continues to fall,

        and U.S. consumers spend nearly 90% of their mobile internet time within apps instead of

        mobile browsers. They also spend over $32 billion a year purchasing apps and digital

        content within apps. App developers likewise invest hundreds of millions of dollars to build

        and distribute apps for smartphone devices. However, for the reasons to be expounded at

        trial, such as work/family compatibility, financial constraints, and others to be revealed in

        discovery, the smartphone market has high barriers to user switching and to market entry.

        Large companies such as Microsoft and Amazon have attempted to enter and gain viable

        scale in the market, with only very limited success. As such, Apple currently possesses

        durable monopoly power in the market for US smartphones, estimated at over 75% by

        revenue or 65% by quantity.

     66. In the face of a small price increase (or a small reduction of quality) in smartphone prices,

        a consumer would be highly unlikely to switch from an Apple device to a substitute for the

        following reasons. First, the consumer who would switch would lose much of her financial




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        investment in the previously purchased devices—often hundreds of dollars—as well as

        digital content consumable only through iOS apps. The consumer may also lose efficient,

        or any, access to many kinds of data on that device or data associated with those apps.

        Because of the functional and data integration between devices within the same ecosystem

        many consumers owning multiple Apple devices would be reluctant to switch to an

        Android device unless committing to switching all devices—a significant financial

        commitment. Third, many Americans pay for their devices under installment contracts,

        limiting their ability to switch mobile ecosystems. These and other costs of switching

        smartphones cause “lock-in” to the Apple ecosystem, and this leverage is used to exploit

        further downstream markets.

     67. Because of this leverage, Apple likewise has monopoly power in all of the downstream and

        tied product markets to the smartphone foremarket.

     68. In the US Smartphone market, the United States is a relevant geographic market. As stated,

        FCC approves a US-version of the iPhone. Apple’s product SKU numbers recognize that

        this is a distinct market geography.

        Apple Monopolizes the Market for iOS App Distribution, or Smartphone App

        Distribution, Alternatively

     69. Apple has, through its anticompetitive conduct, unlawfully maintained monopoly power in

        the market for distributing apps on iOS.

     70. Apps on smartphone devices are akin to software applications on a personal computer. As

        with applications on a personal computer, some apps may be pre-installed on a smartphone,

        but consumers typically obtain additional applications or apps to meet their specific needs

        and preferences.




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     71. On personal computers, application distribution is competitive and diffuse. Consumers

        download applications from a variety of sources, including the application developer’s

        website or stores on websites such as Amazon, Apple, Microsoft, Google, or Steam.

     72. On iOS devices, however, Apple has used exclusionary design and restraints of trade to

        substantially foreclose potential competition from alternative means to download apps,

        effectively eliminating consumers’ choice. The Apple App Store is the only practical

        means to obtain apps for the vast majority of iOS consumers in the United States.

     73. Apple possesses a durable monopoly in the iOS App Distribution Market, causing ongoing

        harm to competition and injury to consumers, developers, and distributors. The Apple App

        Store’s monopoly power is evidenced by (a) its market share and lack of meaningful

        competition; (b) Apple’s large profit margins approaching 44% generally, or higher on the

        App Store itself and (c) Apple’s ability to control the price that consumers must pay to

        purchase an app on the Apple App Store.

     74. Apple forces app developers, as a condition of appearing in the Apple App Store, to sign a

        non-negotiable Developer Distribution Agreement (“DPLA”). The DPLA prohibits

        developers from developing their own app stores. In other words, no app on the App Store

        may compete in the iOS App Distribution Market. The DPLA also gives Apple the right to

        remove and disable any iOS app that Apple determines violates this agreement, and Apple

        routinely does so.

     75. Consumers, developers, and distributers participate directly in the market for iOS App

        Distribution (as direct purchasers, sellers, or market facilitators), and Apple’s

        anticompetitive restrictions are aimed squarely at and cause harm in that market. Apple

        places restraints on developers specifically to prevent consumers from using alternative




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        app distribution channels to impose its supra-competitive commission and “curation” goals

        on consumers.

     76. Apple’s anticompetitive conduct harms consumers by, inter alia, impeding competition

        among app distributors, which would otherwise innovate new models of app distribution,

        as Plaintiff did, and offer consumers alternatives to the Apple App Store. Consumers are

        limited to the App Store, where Apple controls which apps are featured, identified, or

        prioritized in user searches. Loss of such innovation and choice directly harms consumers,

        developers, and of course distributors in the iOS App Distribution Market.

     77. Consumers are also harmed by Apple’s anticompetitive practices by way of increased

        prices and reduced output. As explained above, Apple imposes a supracompetitive

        commission of up to 30% on the purchase price of apps sold through the Apple App Store,

        which is much higher than would exist in a market unimpaired by Apple’s anticompetitive

        conduct. For example, in the face of competition, Apple charges substantially lower fees

        on its Chrome Web Store at only 5% of each app download.

     78. In addition, developers are harmed by Apple’s conduct. Without Apple’s supracompetitive

        commission, consumers would purchase more apps and digital content, and developers

        would earn greater profits. Developers also lose the opportunity to select from multiple

        viable options for distributing their apps, which would likely lead to greater sales and better

        distribution options.

     79. For example, competition for app distribution could encourage app stores to create more

        innovative ways for developers to advertise or for consumers to discover new apps they

        may enjoy. Competition might also encourage app stores to specialize for certain

        segments—like education, games, fitness, career development, and others—which would




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        make niche apps more discoverable. Instead, to attract users, many app developers must

        also purchase Apple’s App Store (and other) advertisements, further reducing developers’

        potential profits.

        The Market for iOS App Distribution, or Smartphone App Distribution, Is a Relevant

        Antitrust Market

     80. There is a relevant product market for the distribution of apps to users of iOS mobile

        devices (the “iOS App Distribution Market”). There is a relevant product market for the

        distribution of apps to users of all smartphone mobile devices (the “Smartphone App

        Distribution Market”).

     81. The market includes all channels by which iOS apps on smartphone devices may be

        distributed to consumers. This includes the dominant Apple App Store, which accounts for

        well over 99% of iOS mobile app distribution. It also includes Apple’s enterprise

        application laoder, which allows corporate customers to directly install apps and bypass

        the App Store. Apple terms this “sideloading,” but Plaintiffs emphasize that this was

        historically just normal “application loading” or “booting” in computing terminology.

        Competing app stores are not permitted on Apple devices, per their exclusionary iOS

        design and contracts of adhesion.

     82. The iOS App Distribution Market does not include mobile distribution of apps that are

        compatible with other OSs, such as Google Play Store. A monopolist app distributor on

        iOS mobile devices is not constrained from raising prices, or reducing quality or

        innovation, by app distribution on Apple’s devices (or on any other mobile devices that use

        an alternative to iOS or on desktop devices), due to market imperfections such as high

        switching and information costs.




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     83. In the face of a small price increase (or a small reduction of quality) in app distribution

        within iOS, a consumer would be highly unlikely to switch to a Google device for three

        primary reasons. First, the consumer who would switch away from using one or more iOS

        devices (e.g., smartphone and tablet) to a Google device (or devices) would lose much of

        her financial investment in the previously purchased mobile devices—often hundreds of

        dollars—as well as digital content consumable only through iOS apps. The consumer may

        also lose efficient, or any, access to many kinds of data on that device or data associated

        with those apps. Because of the functional and data integration between devices within the

        same ecosystem (e.g., among an iOS phone, iOS tablet, and peripherals like smartwatches,

        smart home speakers and “internet of things” devices), many consumers owning multiple

        iOS devices would be reluctant to switch to a Google device unless committing to

        switching all devices—a significant financial commitment. Second, many Americans pay

        for their devices under installment contracts, limiting their ability to switch mobile OS

        ecosystems. Third, even if a consumer is in the market for a new device (or multiple

        devices), she typically considers many other factors when deciding between an Apple

        device or one of the many devices that license the Android OS. These factors include the

        consumer’s existing comfort with an OS, any previous investment in apps or other products

        that are compatible with an OS (e.g., a smartwatch), device design, processing power, and

        battery life. Different OSs have distinct designs, controls, and functions that consumers

        learn to navigate and become familiar with over time. These and other costs of switching

        mobile OSs deter most consumers from switching, and thus availing themselves of the app

        distribution alternatives available on another mobile OS.




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     84. In addition, a consumer in the market for a new device cannot reliably determine the

        lifecycle price. In other words, consumers cannot reliably predict all of the future apps or

        in- app content they may eventually purchase. Even if some consumers believe they can

        do so, their preferences and patterns of app usage can change over the device’s life,

        especially as new apps and app functionalities emerge. Because consumers typically cannot

        predict their future costs when purchasing mobile devices, they cannot effectively take

        Apple’s anticompetitive conduct into account when making mobile device purchasing

        decisions.

     85. Nonetheless, consumers might attempt to factor Apple’s conduct into their decisions to

        move away from iOS, but Apple has inhibited consumers’ ability to make that informed

        choice. Most consumers are unaware of Apple’s supra-competitive commissions, which

        Apple does not publicize or itemize on its App Store billing statements. Most US

        consumers are unaware of the vast app store competition in China, where competing app

        stores on Android increase quality and selection. Apple likewise conceals its

        anticompetitive technological and contractual constraints that give the Apple App Store an

        unfair competitive advantage in iOS app distribution. Indeed, Apple has continually made

        false or misleading representations to consumers and courts regarding iOS’s and the App

        Store’s purported “safety,” which consumers would reasonably understand to mean that no

        other app store, like App Place, could protect them better than Apple. There is significant

        information asymmetry between Apple and consumers, who cannot easily discover and

        make informed decisions based on Apple’s anticompetitive conduct, let alone consent to

        them simply because they purchase an iOS mobile device.




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     86. Moreover, the Apple App Store and the Google Play Store do not compete directly, because

        they and the apps they distribute function with only one mobile OS and cannot work on an

        incompatible mobile device. As the Majority Staff of the Subcommittee on Antitrust,

        Commercial and Administrative Law of the House Committee on the Judiciary concluded

        in its October 2020 report, “Investigation of Competition in Digital Markets,” (hereafter

        referred to as the “House Majority Report”):

                “Apps are not interoperable between operating systems—native apps developed for

                Apple’s iOS only work on iOS devices, and native apps developed for Android only

                work on Android devices. The Apple App Store and the Play Store do not compete

                against one another. iOS users cannot access the Apple App Store and Android

                users cannot access the Google Play Store, so the dominance of the App Store is

                not constrained by the Play Store and vice versa.”

     87. Alternatively, we assert the market for US Smartphone App Distribution, which would

        include both the App Store, the Play Store, and other app markets. Apple maintains 80%

        of all app store purchases in the United States by dollar value. Even considering free apps,

        this marketplace still encompasses 80% of dollar volume, and 65% by app distribution

        quantity.

     88. Consumers who purchase Apple devices are locked into iOS and whatever app distribution

        is available in the Apple ecosystem. Apple’s control of iOS gives it special access to Apple

        App Store consumers that app distribution competitors such as Plaintiff lack and cannot

        obtain, due to Apple’s anticompetitive restrictions discussed below. Under the Aspen

        SCOTUS ruling, Plaintiff is denied an essential facility by a competitor, namely, access to

        the iOS smartphone device and operating system.




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     89. Apple’s market power over app distribution is also not constrained by the Play Store,

        because for developers, distribution on iOS is not an adequate substitute for distribution on

        Android. First, apps written for iOS cannot be run on an Android device, and vice versa.

        The operating systems are written in different programming languages, and each app must

        be written to be compatible with the underlying OS. Thus, the switching costs of “porting”

        an existing app to a new OS are large, as the app must be significantly rewritten. Second,

        most developers of apps that are popular in the United States cannot reasonably choose

        between iOS or Android but develop their apps for both operating systems, or forego

        development altogether if unlikely to gain distribution on both platforms. Just as major

        personal computer software developers like Microsoft and Adobe must create software

        versions compatible with both the Microsoft Windows OS and Apple macOS to satisfy

        consumer expectations, major app developers like Netflix, Spotify, Match Group,

        Facebook, and Epic Games must incur the costs of developing apps compatible with iOS

        and Android, or their apps would not be accessible by a significant portion of U.S. mobile

        device users. This is particularly true for apps that facilitate interaction among users (e.g.,

        dating, online gaming, and social media apps) or serve as platforms for two or more groups

        of users (e.g., digital commerce and ridesharing).

     90. Because of Apple’s anticompetitive conduct, the iOS App Distribution Market is currently

        dominated by a single method of distribution, the Apple App Store. But for Apple’s

        anticompetitive conduct, the Apple App Store would face real competition from other app

        stores—such as Plaintiff’s—and other methods of app distribution, like direct downloads

        from developer websites. Apple’s successful exclusionary design to quash competition in

        app distribution has ensured that these alternative methods of distribution now don’t even




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        exist, and the vast majority of app developers and consumers have given up looking for

        reasonable substitutes for the Apple App Store.

     91. To the extent that the iOS App Distribution Market may be or is a two-sided market, which

        is contradicted by Plaintiff’s relevant App Market definition (see below), Apple’s

        anticompetitive conduct harms consumers, developers, and distributers. Apple’s

        exclusionary conduct also reduces overall output by damaging or destroying alternative

        avenues of app distribution that consumers and developers would otherwise use. Rather

        than competing on the merits, and creating more efficient, innovative, or less expensive

        app distribution, Apple simply blocks its competitive threats.

        The Relevant Geographic Market is the United States

     92. The United States is a relevant geographic market for iOS App Distribution (or,

        alternatively, US Smartphone App Distribution). The apps available, and desirable, to

        consumers vary on a country-by-country basis. For instance, app stores frequently have

        country-specific “storefronts,” and U.S. consumers cannot access the storefront available

        to users in another country. Apple also sets certain app distribution and payment

        requirements for developers on a country-by-country basis, including in-app sales currency

        and price range requirements. Legal restrictions on apps vary by country. App distribution

        markets available in other countries are not reasonable substitutes for app distribution

        markets in the United States.

        The Market for Smartphone Apps, or alternatively, iOS Apps, is a Relevant Antitrust

        Market

     93. To be useful to consumers, a smartphone must be able to run software applications, or

        “apps.” The app market is downstream from the smartphone foremarket. An app cannot




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        exist or function without a smartphone operating system. Apps let users perform most of

        the functions associated with mobile devices—tasks like navigation, web browsing,

        ordering groceries, playing games, and communicating through email and text messaging.

        A mobile OS facilitates the use of apps through code, such as application programming

        interfaces (“APIs”), and SDKs (“software development kits”) which app developers use to

        create apps that are compatible with the OS.

     94. Apps may be free or may be a non-zero price to consumers, but even a free app has a

        wholesale valuation. Analogously, every film has a price sold to a film studio. A made-for-

        TV show, free through ad sponsorship or unlimited streaming agreements, has a price paid

        to its creators by the TV network or streaming service. Likewise, an author is paid for

        book rights by a publishing house. Apps are thereby priced by either their cost to consumer,

        or their total net valuation paid to a creator-developer.

     95. The vast majority of apps are free, such as Facebook, Instagram, Snapchat, Google Search,

        etc. Defining a relevant market for free apps has been a “challenge,” according to an

        authoritative “Antitrust and Big Tech” report to the United States Congress (full report,

        incorporated herein by reference, available at https://sgp.fas.org/crs/misc/R45910.pdf). As

        the report explains:


                 “[Antitrust experts] maintain that antitrust law has an important role to play in
                zero-price markets. Some of these commentators have argued that zero-price
                transactions are not in fact “free” to consumers, and that consumers ultimately
                “pay” for putatively “free” goods and services with both their attention and personal
                data. According to this line of argument, many of these consumers may actually be
                overpaying. That is, some observers have argued that certain “free” products and
                services may have negative equilibrium prices under competitive conditions,
                meaning that firms in the relevant markets would pay consumers for their attention
                and the use of their data if faced with sufficiently robust competition.




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                Other commentators have argued that firms offering zero-price products and
                services can compete on a variety of nonprice dimensions such as quality and
                privacy, and that antitrust law can promote consumer welfare in zero-price markets
                by ensuring that companies engage in these types of nonprice competition. This
                argument appears to have persuaded regulators at the DOJ. In a February 2019
                speech, Makan Delrahim—the head of the Justice Department’s Antitrust
                Division—contended that antitrust law applies “in full” to zero-price markets
                because firms offering “free” products and services compete on a variety of
                dimensions other than price.

                While many observers accordingly agree that zero-price markets are not
                categorically immune from antitrust scrutiny, the optimal approach to defining the
                scope of such markets remains open to debate.

                Some commentators have argued that regulators should modify the SSNIP test to
                account for quality-adjusted prices, creating a new methodology called the “small
                but significant and non-transitory decrease in quality” (SSNDQ) test. According to
                these academics, decreases in the quality of “free” services (e.g., a decline in the
                privacy protections offered by a social network) are tantamount to increases in the
                quality-adjusted prices of those services. Under the SSNDQ test, then, a firm
                offering “free” goods or services would possess monopoly power if it had the ability
                to profitably raise its quality-adjusted prices significantly above competitive
                levels… The SSNIP test as traditionally administered is accordingly “inoperable”
                in a number of zero-price technology markets.”



     96. Plaintiffs are only aware of one Sherman Act claim for free apps brought against Apple to

        date, which was brought by Plaintiff’s counsel for Coronavirus Reporter (CAND cv-21-

        5567-EMC). But that case, after transfer to the Northern District for California, was

        dismissed by the California district judge, who did not recognize a free app monopsony,

        and declared it would be “futile” to attempt to define one. That case is under appeal to the

        Ninth Circuit.

     97. As “Antitrust and Big Tech” argues, the Ninth Circuit’s Tyco ruling, and a plethora of other

        Big Tech friendly west coast law, have implemented the “Chicago School” view on

        Sherman to the point of obliterating prior “Brown Shoe” SCOTUS precedent. It seems,

        Apple’s forum selection clause largely limits prosecution of Sherman violations, as both



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        end-users and developers are bound to Ninth Circuit law that simply doesn’t conveniently

        fails to recognize free app markets, amongst others realities of the new economy. Plaintiffs

        in this case, who are IP holders rather than end-users or DPLA-bound developers, are

        hopeful Eleventh Circuit law can finally bring a proper resolution to this important matter

        of national, and international, urgency.

     98. Plaintiffs intend to present at jury trial SSNDQ tests from experts to demonstrate that free

        apps are a relevant market. Under the “Brown Shoe” test, there is a market for smartphone

        apps, free or paid. The intent of Congress is clear – Sherman Act must be applied to Apple,

        and “Chicago School” precedent set over the past few decades will not hold up to a jury,

        or to the Supreme Court.

     99. It should be noted that while the aforementioned App Store app distribution market may

        or may not be a “two-sided” transactional marketplace, Plaintiffs specifically deny that the

        Smartphone App market is two-sided. There is no direct symmetry in transactions between

        the demand and supply side. Apple could, and indeed did, purchase a weather app for

        millions of dollars from a developer, but then distributed it for free. In short, an app has a

        supplier price by its author – often millions of dollars – and a demand price by consumers

        – often free, or a small amount. Apple is the only merchant of record selling iOS apps to

        consumers – all App Store purchases show as “Apple Inc” on credit card receipts. As such,

        Plaintiffs allege apple is a monopsony purchaser of iOS apps. Even in the broader

        smartphone app market, Apple still maintains a monopsony. Although the DPLA does not

        explicitly declare such, Apple effectively purchases all rights to an app, the same way book

        publishers or film studios often do with their products.




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     100.       In sum, there is a relevant market for smartphone apps, or alternatively, iOS apps,

        and this market is separate from any two-sided symmetric distribution via the App Store.

        The market is subject to bottleneck constraint, as Apple is the only purchaser of iOS apps,

        i.e., it is a censor-competitor.

        The Relevant Geographic Market is the United States

     101.       The United States is a relevant geographic market for Smartphone Apps (or,

        alternatively, iOS Apps). The apps available, and desirable, to consumers vary on a

        country-by-country basis. Apps are made in different languages and cultural norms to

        appeal to different countries. Some apps are restricted or illegal in certain countries.

        Localization, such as currency and time and date formatting, vary by country. A US

        developer may not want divert limited resources and budget to making an app work in

        every country, and as a solution, typically will write their app in American English,

        intended for a United States audience. The developer may value their app solely on the

        expected revenue to be obtained from US based consumers.

        Apple Has Monopoly Power in the Smartphone and iOS App Markets

     102.       Apple possesses a durable monopoly and monopsony in the Smartphone App

        Market and iOS App Market, causing ongoing harm to competition and injury to

        consumers, developers, and distributors. Apple’s monopoly power is evidenced by its

        ability to totally censor and control the apps that may be used on the iOS device network.

        Apple uses monopoly power in the Smartphone market to conduct exclusionary design and

        deny essential facilities to rivals, in violation of MCI and Aspen precedent. It routinely

        grants preferential treatment to its own apps, or those of its cronies and business partners.




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     103.      Through its anticompetitive conduct, Apple blocks any app from being directly

        installed on devices. Nearly every other major computing platform in history, notably

        including MacOS and Android, allow apps to be directly loaded and installed on devices.

        The App Market is severely bottlenecked as a result.

     104.      Consumers are harmed by Apple’s anticompetitive practices by way of increased

        prices and reduced output. Apple rejects 40,000 apps per week, representing millions of

        hours of lost labor. In China, where Android markets thrive, the output of competing

        Android app stores are nearly an order of magnitude higher than Apple’s respective app

        market.

     105.      In addition, developers are harmed by Apple’s conduct. Since Apple is the only

        buyer of apps – a monopsony – developers of free apps are underpaid for their work, or

        entirely censored and paid nothing. Apple would pay zero to Plaintiff for their app – a

        novel distribution app store that would run, as a standard app on an iOS device. It is well

        known Apple’s DPLA doesn’t allow competing app stores, as such, Plaintiff does not need

        to apply to join the DPLA, which would simply move this dispute to the Ninth Circuit and

        prevent redress from ever occurring.

     106.      Alternatively, Apple is a monopolist in the Smartphone App and iOS App Markets,

        and promotes its own apps, excluding rivals such as Plaintiff, who have a free app that

        serves as a distribution app store.

     107.      Once a developer has written an iOS app, it must accept the price Apple pays for

        it. There is no reasonable alternative. The developer could forego the entire Apple portion

        of the marketplace, which amounts to foregoing 60% of users and 80% of app sales by




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        dollar volume. iOS apps are written in Swift/Xcode, and selling to any other buyer on this

        market would likely require rewriting the app from scratch.



                                       Putative Class Definitions

     108.      Plaintiffs bring this proposed class action pursuant to Fed. R. Civ. P. 23(b)(1), (2),

        and (3).

     109.      Plaintiffs bring this action on behalf of themselves and the following nationwide

        classes, for monetary and injunctive relief based on violations of the Sherman Act or RICO,

        and/or tort, and or direct shareholder claim :

                        - All U.S. iOS app distributors who were unable to compete with the App

               Store due to Apple’s exclusionary design, and tying of the App Store to iOS devices.

                        -All intellectual property holders (patent, trademark, and/or trade dress)

               who suffered censorship, ranking suppression, or lost royalties in Apple’s App

               Store.



     110.      Not included in these proposed classes is the defendant; defendant’s affiliates and

        subsidiaries; defendant’s current or former employees, officers, directors, agents, and

        representatives; and the district judge or magistrate judge to whom this case is assigned, as

        well as those judges’ immediate family members.

     111.      Numerosity: The exact number of the members of the proposed classes is unknown

        and is not available to the plaintiffs at this time, but upon information and belief, supported

        by Apple’s past statements, the classes will consist of millions of Apple shareholders,

        citizens, and tens of thousands of independent app distributors, and millions citizens




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        concerned about Apple device hazards, and therefore individual joinder in this case is

        impracticable.

     112.      Commonality: Numerous questions of law and fact are common to the claims of

        the plaintiffs and members of the proposed classes. These include, but are not limited to:

        a. whether Defendant Cook’s $275 billion wealth transfer to China directly diluted

        shareholders or violated RICO and other statutory provisions; b. whether there is a relevant

        antitrust market for app distributors; c. whether iOS devices create negative ecological

        and/or health externalities; d. whether intellectual property holders are harmed by Apple’s

        exclusionary design; e. Whether competition in the relevant markets has been restrained

        and harmed by Apple’s monopolization, or attempted monopolization, of each market; e.

        Alternatively, whether Apple has behaved as a monopsonist, or attempted monopsonist, in

        the relevant markets; f. Whether plaintiffs and members of the proposed classes are entitled

        to declaratory or injunctive relief to halt Apple’s unlawful practices, and to their attorney

        fees, costs, and expenses; g. Whether plaintiffs and members of the proposed classes are

        otherwise entitled to any damages, including treble damages, or restitution, and to their

        attorney fees, costs, and expenses related to any recovery of such monetary relief; and h.

        Whether plaintiffs and members of the proposed classes are entitled to any damages,

        including treble damages, or restitution incidental to the declaratory or injunctive relief

        they seek, and to their attorney fees, costs, and expenses related to any recovery of such

        monetary relief.

     113.      Typicality: Plaintiffs’ claims are typical of the claims of the members of the

        proposed classes. The factual and legal bases of Apple’s liability are the same and resulted

        in injury to plaintiffs and all of the other members of the proposed classes.




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     114.       Adequate representation: Plaintiffs will represent and protect the interests of the

        proposed classes both fairly and adequately. They have retained counsel able to engage,

        and experienced with, complex litigation. Plaintiffs have no interests that are antagonistic

        to those of the proposed classes, and their interests do not conflict with the interests of the

        proposed class members he seeks to represent.

     115.       Prevention of inconsistent or varying adjudications: If prosecution of a myriad

        of individual actions for the conduct complained of were undertaken, there likely would be

        inconsistent or varying results. This would have the effect of establishing incompatible

        standards of conduct for the defendant. Certification of plaintiffs’ proposed classes would

        prevent these undesirable outcomes.

     116.       Injunctive and declaratory relief: By way of its conduct described in this

        complaint, Apple has acted on grounds that apply generally to the proposed classes.

        Accordingly, final injunctive relief or corresponding declaratory relief is appropriate

        respecting the classes as a whole.

     117.       Predominance and superiority: This proposed class action is appropriate for

        certification. Class proceedings on these facts and this law are superior to all other available

        methods for the fair and efficient adjudication of this controversy, given that joinder of all

        members is impracticable. Even if members of the proposed classes could sustain

        individual litigation, that course would not be preferable to a class action because

        individual litigation would increase the delay and expense to the parties due to the complex

        factual and legal controversies present in this matter. Here, the class action device will

        present far fewer management difficulties, and it will provide the benefit of a single




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        adjudication, economies of scale, and comprehensive supervision by this Court. Further,

        uniformity of decisions will be ensured.

                                   IV.      VIOLATIONS ALLEGED

                                          COUNT I
             Sherman Act § 2 Monopoly Maintenance in the iOS App Distribution Market

     118.       Plaintiffs restate, re-allege, and incorporate by reference each of the allegations set

        forth in the rest of this Complaint as if fully set forth herein.

     119.       This cause of action is brought under Section 2 of the Sherman Act, 15 U.S.C. § 2,

        which prohibits “monopoliz[ation of] any part of the trade or commerce among the several

        states, or with foreign nations.”

     120.       The iOS App Distribution Market within the U.S. is the product and geographic

        market relevant to this claim. Alternatively, the US Smartphone App Distribution Market

        is a relevant market. Additionally, the US Smartphone App market, or iOS App Market, is

        a relevant market to this claim.

     121.       Apple has monopoly power in the iOS App Distribution Market within the U.S.

        through the Apple App Store. Likewise, Apple has monopoly power in the U.S.

        Smartphone App Distribution Market within the U.S. Apple has monopoly power in the

        US Smartphone App market and the iOS App Market.

     122.       Apple has unlawfully maintained its monopoly power through the conditions that

        it has placed on the licensing of the iOS ecosystem IP, Apple App Store and other Apple

        services, including but not limited the DPLA with app developers, the SLA with end-users,

        and the exclusionary design of iOS. These conditions provide the Apple App Store with

        preferential placement on mobile devices, limit the distribution of iOS apps through means




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        other than the Apple App Store, impose technological obstacles on both end users and app

        developers, and deter distributor-developers from implementing competing app stores.

     123.      Apple’s conduct has substantial anticompetitive effects, including increased prices

        to consumers and costs to developers, reduced innovation and quality of service, and

        lowered output of apps and app quality.

     124.      Apple’s conduct affects a substantial volume of interstate commerce.

     125.      Apple has engaged in a continuous course of unlawful anticompetitive conduct.

     126.      There are no procompetitive justifications for Apple’s conduct. Alternatively, to

        the extent that any such procompetitive benefits exist, they are outweighed by the

        anticompetitive effects of Apple’s conduct and could have been achieved through less

        anticompetitive and less harmful means.

     127.      Apple’s anticompetitive conduct has harmed competition and harmed the general

        economies and a substantial number of residents of Florida in a manner the antitrust laws

        were intended to prevent. Residents of the Florida have paid more for iOS apps than they

        would have paid in a competitive market. Apple’s unlawful restraints of trade extinguished

        consumers’ freedom to choose between the Apple App Store and lower-cost and better

        market alternatives that would have been available had Apple not restrained competition.

        Florida residents were further injured because Apple’s establishment and maintenance of

        supra-competitive pricing has caused a reduction in the output, supply, quality, and

        innovation of iOS apps, all of which would have been more abundant in a competitive

        market.

     128.      Plaintiff was directly injured as its innovative app store cannot be launched this

        month, as Apple does not permit competing app stores to exist.




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     129.       As a result of Apple’s anticompetitive conduct, Plaintiff, developers, end users, and

        Florida residents and the national app store economies have suffered and continue to suffer

        damages.


                                                 COUNT II

        Sherman Act § 1 Unreasonable Restraints of Trade Concerning the Smartphone App

        Distribution Market and Smartphone App Market


     130.       Plaintiffs repeat and reallege every preceding allegation of this Complaint as if fully

        set forth herein.

     131.       This cause of action is brought under Section 1 of the Sherman Act, 15 U.S.C. § 1,

        which prohibits “[e]very contract, combination in the form of trust or otherwise, or

        conspiracy, in restraint of trade or commerce among the several States, or with foreign

        nations.”

     132.       Apple forces developers to sign a DPLA that unreasonably restrict competition in

        the iOS App Distribution Market and US Smartphone App Market. This forces inventors

        like Plaintiff Coring to abandon any competing App Stores. Likewise, it grants Apple full

        discretion to curate, aka censor, competing apps. This creates a bottleneck and vastly

        decreases consumer choice.

     133.       Apple’s conduct has substantial anticompetitive effects, including increased prices

        to consumers and costs to developers, reduced innovation and quality of service, and

        reduced output of apps.

     134.       These agreements serve no legitimate or procompetitive purpose that could justify

        their anticompetitive effects, and thus unreasonably restrain competition in the iOS App




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        Distribution Market and/or Smartphone App Market. Alternatively, to the extent that these

        agreements provide any procompetitive benefits, those benefits are outweighed by the

        anticompetitive effects of the agreements and could have been achieved through less

        anticompetitive and less harmful means.

     135.       Apple’s conduct affects a substantial volume of interstate commerce.

     136.       Apple has engaged in a continuous course of unlawful anticompetitive conduct.

     137.       Apple’s anticompetitive conduct has harmed competition and harmed the national

        economy and a substantial number of residents of Florida in a manner the antitrust laws

        were intended to prevent. Potential customers of Plaintiff’s app store have paid more for

        iOS apps than they would have paid in a competitive market app store. Apple’s unlawful

        restraints of trade extinguished consumers’ freedom to choose between the Apple App

        Store and lower-cost and better market alternatives that would have been available had

        Apple not restrained competition.

     138.       As a result of Apple’s anticompetitive conduct, Plaintiff and the state and national

        economies have suffered and continue to suffer damages. Additionally, Plaintiffs suffered

        and continue to suffer irreparable injury for which no adequate remedy at law exists and

        therefore seek an injunction ending Apple’s anticompetitive conduct.


                                                COUNT III

                                 Florida Antitrust Act, Fla. Stat. § 542.22


     139.       Plaintiffs repeat and reallege every preceding allegation of this Complaint as if fully

        set forth herein.




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     140.       Plaintiff seeks all remedies available under the Florida Antitrust Act including,

        without limitation, the following:

     141.       Damages for injury to the Coring Distribution App Store;

     142.       Injunctive and other equitable relief pursuant to Fla. Stat. § 542.23;

     143.       Costs and attorney’s fees pursuant to Fla. Stat. § 542.23.


                                                COUNT IV

              The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.204


     144.       Plaintiffs repeat and reallege every preceding allegation of this Complaint as if fully

        set forth herein.

     145.       The acts and practices alleged constitute unfair methods of competition in violation

        of The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.211 . Banning

        all potential distributors and developers from directly selling apps to 80% of the Florida

        population using iOS devices would be akin to blocking sales of books, movies, or TV

        programming to these individuals, and is therefore unethical.

     146.       Further, Defendants’ actions offend established public policy and are immoral,

        unethical, oppressive, unscrupulous, or substantially injurious to Plaintiff, developers, and

        consumers in the State of Florida in violation of Fla. Stat. § 501.204 et seq.

     147.       Per the statute, “Unfair methods of competition, unconscionable acts or practices,

        and unfair or deceptive acts or practices in the conduct of any trade or commerce are hereby

        declared unlawful.”

     148.       Anyone aggrieved by a violation of this part may bring an action to obtain a

        declaratory judgment that an act or practice violates this part and to enjoin a person who




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        has violated, is violating, or is otherwise likely to violate this part. In any action brought

        by a person who has suffered a loss as a result of a violation of this part, such person may

        recover actual damages, plus attorney's fees and court costs as provided in s. 501.2105.


                                         COUNT V
                                DENIAL OF ESSENTIAL FACILITY


     149.       Plaintiffs restate, re-allege, and incorporate by reference each of the allegations set

        forth in the rest of this Complaint as if fully set forth herein.

     150.       Most essential facility cases considered by district courts during the past decade

        rely on the four prong test enunciated in MCI Communications Corp. v. American Tel. &

        Tel. Co., 708 F.2d 1081 (7th Cir.), cert. denied, 464 U.S. 891 (1983), a case challenging

        AT&T’s use of local telephone networks to thwart competition in the long distance

        telephone service market. There, the court held that "to establish liability under the essential

        facilities doctrine [a plaintiff must show]: (1) control of the essential facility by a

        monopolist; (2) a competitor's inability practically or reasonably to duplicate the essential

        facility; (3) the denial of the use of the facility to a competitor; and (4) the feasibility of

        providing the facility." Id. at 1132-33.

     151.       Apple’s conduct completes all four elements of the MCI test.

     152.       Apple competes with apps in the US Smartphone App and iOS App markets. Apple

        is a monopolist & monopsonist in these markets. Alternatively, these markets are

        downstream from the US Smartphone market, where it is a monopolist. It is also a

        monopolist in the iOS App Distribution Market.

     153.       Apple controls an essential facility necessary to compete in all of these markets.




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     154.      Apple controls access to the iOS infrastructure and smartphone devices, so a rival

        app developer (inclusive of app distributors) is unable compete in the marketplace of apps,

        or of app stores, without the necessary infrastructure. Apple restricts the entire app store

        and smartphone app marketplace (both sides, institutional and retail) by excluding

        developers and rival app stores from necessary iOS SDK and API calls to implement their

        software.

     155.      Apple engages in exclusionary behavior that denies essential facilities to Plaintiffs

        and other app store and app developers. Apple routinely the essential facility of iOS API

        and SDK when it denies apps like Parler or competing app stores. Contractually, it denies

        access to the iOS essential facilities when it requires developers to sign the restrictive

        DPLA App Store policies.

     156.      Because Apple has its own apps in the competing in the US Smartphone Apps

        markets, and has its own App Store, by definition Apple excludes competitors. Apple does

        so by leveraging its control over the iOS App Store, operating system, and hundreds of

        millions of physical iPhone devices.

     157.      Competing app developers and rival app stores are unable to reasonably or

        practically duplicate the entire infrastructure for the iOS API and SDK. Duplicating the

        entire iPhone network effect is about as feasible as recreating a mountain — in reference

        to binding caselaw from Aspen Skiing Co (472 U.S. 585, 1985). Apple’s exclusionary

        design practices, blocking programmers from accessing a network of hundreds of millions

        of computers, is truly unprecedented and as unethical as a book publisher banning books.




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     158.        In fact, providing tools to access a computing platform’s API and SDK is exactly

         what Apple has done for forty years with the Mac product ecosystem, a respected and

         successful computing platform.

     159.        Apple’s denial of access to iOS users, via API and SDK restrictions, has no

         legitimate business purpose, and serves only to assist Apple in maintaining its unlawful

         monopoly position in the relevant markets.

     160.        Apple’s conduct affects a substantial volume of interstate as well as foreign

         commerce. Apple’s conduct has substantial anti-competitive effects, including increased

         prices and costs, reduced innovation and quality of service, and lowered output.

     161.        As an app store developer, Plaintiffs have been harmed by Apple’s anti-competitive

         conduct in a manner that the antitrust laws were intended to prevent. Plaintiffs have

         suffered and continue to suffer harm and irreparable injury, and such harm and injury will

         not abate until an injunction ending Apple’s anti-competitive conduct issues.

                                           COUNT VI
                                       (Sherman Act § 1)
   ILLEGAL TYING OF THE APP STORE TO THE US SMARTPHONE DEVICE MARKET
     162.    Plaintiffs restates, re-alleges, and incorporates by reference each of the allegations

         set forth in the rest of this Complaint as if fully set forth herein.

     163.        Apple’s conduct violates Section 1 of the Sherman Act, which prohibits “[e]very

         contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade

         or commerce among the several States, or with foreign nations”.15 U.S.C. § 1.

     164.        Through its End User Agreement with iOS users, and the DPLA, Apple has

         unlawfully tied its iOS devices in the US Smartphone device market the use of its App

         Store, in the Smartphone App Distribution market.




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     165.      Apple has sufficient economic power in the tying market, the Smartphone Device

        and/or iOS Device market, because it holds 65% and 100% of these markets, respectively.

        Moreover, the iOS Smartphone Device user often is locked in to their device, or has

        substantial barriers to exit. As such, the iOS user has no choice but to accept the App Store

        offerings (Apple’s curated apps, favoring their own competing products), which are

        mandated by the EULA.

     166.      Apple is able to unlawfully condition access to iOS device to the use of a second

        product—App Store app marketplace. Through its End User License Agreement and

        unlawful policies, Apple expressly conditions the use of its devices on its “walled garden”

        App Store – which creates a severe bottleneck constraint on both the developer and

        consumer side of the Smartphone App markets, or iOS App markets, alternatively. This

        amounts to a per se unlawful tying arrangement, and a dangerously inefficient one that

        denies users the benefit of the multi-trillion dollar device network they collectively

        invested in.

     167.      The tying product, Apple’s iPhone Smartphone, is distinct from the tied product,

        Apple’s App Store. App developers such as Plaintiffs have apps, and their own App Place

        “app store” that cannot complete a product launch, but for Apple’s EULA and DPLA

        restrictions. In other words, end users and developers are coerced into using the App Store,

        and the competition of our national app markets suffers the consequences. Apple’s

        unlawful tying arrangement thus ties separate products that are in separate markets and

        coerces Plaintiffs and third-party end users to rely on both of Apple’s products.




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     168.       Apple has thus engaged in a per se illegal tying arrangement and the Court does not

        need to engage in a detailed assessment of the anti-competitive effects of Apple’s conduct

        or its purported justifications.

     169.       In the alternative only, even if Apple’s conduct does not constitute a per se illegal

        tie, an analysis of Apple’s tying arrangement would demonstrate that this arrangement

        violates the rule of reason and is illegal by coercing end-users into using its App Store,

        notary stamps, and onboarding software. Apple’s only defense, of a safety competitive

        advantage, is defeated by cutting-edge app store replacements, such as the App Place, that

        have vastly superior safety.

     170.       Apple’s conduct harms those Plaintiffs and class members which, as a direct result

        of Apple’s anti-competitive conduct, are prohibited from offering competing app stores,

        are receiving infra-competitive fees on institutional app sales to monopsonist Apple, or

        cannot sell their work-product to consumers directly, as they lack the ability to circumvent

        the DPLA and iOS exclusionary design, but for a court order.

     171.       As app developers that offer a competing app store, Plaintiffs have been been

        foreclosed from competing with Apple directly as a result of Apple’s unlawful tie and

        restrictive agreements. Of note, Plaintiff has never applied for nor been in privity to any

        agreement with Apple, Inc, and this is fortunate, as it would cause a forum selection

        invocation that, at least thus far, has defeated numerous valid Apple antitrust claims.

     172.       The U.S. Supreme Court has held that “the answer to the question whether one or

        two products are involved turns not on the functional relation between them, but rather on

        the character of demand for the two items.” Thus, the most important factor in determining

        whether two distinct products are being tied together is whether customers want to purchase




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        the products separately. If customers are not interested in purchasing the products

        separately, there is little risk the tie could foreclose any separate sales of the products. Here,

        the tied products meet the SCOTUS requirement for consumer interest. Clearly, consumers

        are interested in purchasing apps separately from smartphones. Customers in China

        evidence that competing app stores have great demand.

     173.       A party seeking to defend such a per se tying arrangement on the basis of

        competitive justifications bears a heavy burden of proof; the defense is difficult to establish

        and has been successful only under limited circumstances. For these reasons, the Court

        should approve a Preliminary Injunction ending this illegal tie, filed simultaneously with

        this Amended Complaint.

     174.       Plaintiffs have been harmed by Apple’s anti-competitive conduct in a manner that

        the antitrust laws were intended to prevent. Plaintiffs suffer harm and irreparable injury,

        and such harm and injury will not abate until an injunction ending Apple’s anti-competitive

        conduct issues. To prevent these ongoing harms, the Court should permanently enjoin the

        anti- competitive conduct complained of herein.

                                             COUNT VII
                           35 U.S.C. § 271 PATENT INFRINGEMENT
     175.        Plaintiffs repeat and re-allege each and every allegation contained herein as if fully

        stated under this count.

     176.       Apple has directly infringed at Claims 7 & 8 of the ‘847 patent, and contributorily

        infringed and induced others to infringe at Claims 7 & 8 of the ‘847 Patent by making,

        having made, importing, using, offering for sale, and/or selling apps on the App Store that

        are performing, implementing, and carrying out, processes and methods specified in the

        patent, in violation of 35 U.S.C. § 271(a), (b) and (c).




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     177.      On information and belief, Apple’s infringement is willful. Apple’s App Store IP

        team has been aware of the preceding ’698 patent and its infringement thereof since at least

        January 2016, and upon information and belief, since approximately August 2015 when

        the patent’s inventor notified Apple of the infringement. Apple has been made aware of

        the reissue patent process, and issuance, and the fact that the App Store still publishes

        infringing apps.

     178.      Resolution of the preceding monopoly claims is imperative to calculating damages

        and apportionment of direct/contributory infringement. In essence, if a jury determines

        Apple is a monopoly seller/merchant, or monopsony buyer of infringing apps, the company

        is liable for 100% of direct infringement royalty losses. On the other hand, if the jury

        determines Apple merely is a transaction supply chain platform, damages for lost royalties

        may be limited to 30% (Apple’s commission on IAP sales) of lost royalties. Plaintiff alleges

        that Apple is in fact the proper legal seller of apps, as a monopolist/monopsonist, and that

        the contrasting DPLA terminology is legally void.

     179.      Coring has been irreparably harmed by Apple’s acts of infringement of Claims 7 &

        8 of the ‘847 Patent, and will continue to be harmed unless and until these acts of

        infringement are enjoined and restrained by order of this Court. Coring has no other

        adequate remedy at law to redress Apple’s continuing acts of infringement. Upon

        information and belief, the hardships that would be imposed upon Apple by an injunction

        are less than those faced by Coring should an injunction not issue. Furthermore, the public

        interest would be served by issuance of an injunction. Accordingly, Coring is entitled to

        permanent injunctive relief against such infringement pursuant to 35 U.S.C. § 283.




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     180.       As a result of Apple’s acts of infringement, Coring has suffered and will continue

         to suffer damages. Plaintiff is entitled to compensation for such damages pursuant to 35

         U.S.C. § 284 in an amount to be determined at trial, estimated to exceed $80 million USD

         before treble damages.

                          COUNT VIII - PERMANENT INJUNCTION

                       RESTRAINING SHERMAN ACT VIOLATIONS

     181.       The Court shall enter a permanent injunction, enjoining and restraining Defendant

         Apple from further anticompetitive restraints on the smartphone app and smartphone app

         distribution markets, as regulated by the Sherman Act. Specifically, the permanent

         injunction shall enjoin Apple from:

     182.       Requiring developers to assent to contracts of adhesion such as the DPLA

     183.       Using exclusionary design in iOS to block competing app stores

     184.       Maintaining a monopoly or monopsony on the US smartphone app market or iOS

         app market.

  WHEREFORE, The Plaintiffs and class members respectfully request that this Honorable Court:

     A. Certify this case as a developer class action lawsuit and that it certify the proposed federal

         law classes on a nationwide basis for app store competitors, and developers who seek

         access to these innovative app stores.

     B. Order damages for:

            a. Willful patent infringement, at treble punitive value of $240 million.

            b. A compensation fund for censored distributors, and app developers, if so

                determined by jury, to cover the competition injury created by lost app sales and




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                commissions amounting to an estimated $275 billion USD depending upon class

                participation, and including Plaintiff’s own App Place.

     C. Issue a permanent injunction restraining Defendant Apple from tying app distribution to

        iOS devices, blocking competing app stores, and blocking essential facilities from rival

        app developers.

     D. Issue a finding that Apple has infringed literally and/or under the doctrine of equivalents,

        Claims 7 & 8 of the ’847 Patent; Issue a finding that Apple’s infringement has been willful;

        Issue a permanent injunction that Apple be permanently enjoined from making, using,

        offering for sale, selling, causing to sell, importing, exporting, supplying and/or

        distributing within, to and/or from the United States, or over the internet or on any app, any

        software infringing upon the ‘847 patent; That Coring be awarded pre-judgment interest

        and post-judgment interest at the maximum rate allowed by law, including an award of pre-

        judgment interest, pursuant to 35 U.S.C. § 284, from the date of each act of infringement

        of Claims 7 & 8 of the ‘847 Patent to the day a damages judgment is entered, and a further

        award of post-judgment interest, pursuant to 28 U.S.C. § 1961, continuing until such

        judgment is paid, at the maximum rate allowed by law; That the Court order an accounting

        for damages through judgment and post-judgment until Apple is permanently enjoined

        from further infringing activities; That the Court award enhanced damages pursuant to 35

        U.S.C. § 284; the Court award supplemental damages for any continuing post-verdict

        infringement up until Apple is permanently enjoined from further infringing activities; That

        the Court award a compulsory future royalty in the event an injunction is not awarded.

     E. Grant any further relief as may be fair and just.




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                                       Respectfully submitted, this 15th day of December 2021.

                                              /s/ Keith Mathews
                                              Keith Mathews
                                              Attorney for The Coring Company
                                              Pro Hac Vice
                                              NH Bar No. 20997
                                              AWP Legal
                                              1000 Elm Street, Suite 800
                                              Manchester, NH 03102
                                              Ph. 603-622-8100
                                              keith@aaone.law


                                 CERTIFICATE OF SERVICE

         I, Keith Mathews, do declare as follows:

  I certify that a copy of the foregoing COMPLAINT FOR DAMAGES AND INJUNCTIVE
  RELIEF was served upon all parties, in accordance with applicable service of process guidelines.

         Executed on this 15th day of December 2021.



                                              /s/ Keith Mathews
                                              Keith Mathews




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